
30 So.3d 658 (2010)
M.B., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D09-1483.
District Court of Appeal of Florida, Third District.
March 17, 2010.
Carlos J. Martinez, Public Defender, and Brian L. Ellison, Assistant Public Defender, for appellant.
Bill McCollum, Attorney General, and Lunar Claire Alvey, Assistant Attorney General, for appellee.
*659 Before SUAREZ, CORTIÑAS, and SALTER, JJ.
SALTER, J.
M.B., a juvenile, appeals an order imposing restitution following a withheld adjudication for delinquency. We reverse in part because some of the items in the restitution order were not properly included.
The victim testified that the lock was broken and she had already bought a repair kit when the crime was committed. The broken lock cannot then be causally connected or significantly related to the defendant's offense. § 985.437(2), Fla. Stat. (2009) (authorizing court to order juvenile to pay restitution for "damage or loss caused by the child's offense."); Schuette v. State, 822 So.2d 1275 (Fla.2002). Also, as the state properly concedes, there is no evidence that the juvenile stole the missing real estate sign. The juvenile was apprehended inside the house and the sign was not mentioned on the arrest form, or the petition for delinquency.
We therefore reverse the portion of the restitution order imposing $1,548.16 in restitution and remand for the trial court to deduct from that award the $50.00 for the lock repair and the $148.16 for the signs. The new restitution order shall be in the amount of $1,350.00.
Affirmed in part and reversed in part.
